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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


IN RE:         FEMA TRAILER                          *              MDL NO. 1873
               FORMALDEHYDE                          *
               PRODUCTS LIABILITY                    *              SECTION: N(4)
               LITIGATION                            *
                                                     *              JUDGE: ENGELHARDT
This Document Relates to:                            *
  Curtis Crawford, et al v. Fleetwood, et al         *              MAG: ROBY


                  FLEETWOOD ENTITIES’ LIST OF DEFENSES
                  AND RULE 12 MOTIONS TO BE PRESERVED
______________________________________________________________________________

       NOW INTO COURT, through undersigned counsel, come defendants, Fleetwood

Enterprises, Inc. and any other Fleetwood subsidiary that may be deemed to be a real party in

interest (hereinafter referred to as “Fleetwood”), respectfully submits the following list of

defenses and Federal Rule of Civil Procedure Rule 12 motions to be preserved in the underlying

action, which is currently pending in the above captioned matter or will be subsequently

transferred to the above captioned matter:

       In Curtis Crawford, et al v. Fleetwood, et al originally filed in the United States District

Court for the Eastern District of Louisiana, Case number 09-2893, Fleetwood preserves the

following defenses:




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  a.    Rule 12(b)(6): Failure to state a claim for negligence, strict liability, and breach
        of express and implied warranties under Louisiana law because those claims are
        barred by the Louisiana Products Liability Act.

  b.    Rule 12(b)(6): Failure to state a claim because plaintiffs failed to make any
        particularized allegations regarding their injuries and damages, and failed to
        make any particularized allegations connecting any plaintiff to conduct by any
        particular defendant.

  c.    Rule 12(b)(6): Failure to state a claim for punitive damages under Louisiana law.

  d.    Rule 12(b)(6): Failure to state a claim for medical monitoring damages under
        Louisiana law because plaintiffs have not alleged a present and manifest injury.

  e.    Rule 12(b)(6):    Plaintiffs’ claims are barred by the applicable prescriptive
        periods.

  f.    Rule 12(b)(6): Failure to state a claim for breach of express warranty under
        Louisiana law.

  g.    Rule 12(b)(6): Failure to state a claim for breach of implied warranty under
        Louisiana law.

  h.    Rule 12(e): Motion for more definite statement of the complaint based on
        plaintiffs’ failure to make particularized allegations about their injuries and
        damages and failure to make any particularized allegations about any particular
        defendants’ alleged conduct.

  i.    Rule 12(b)(6): Failure to state a claim upon which relief can be granted to the
        extent that plaintiffs specifically seek property damages inasmuch as such claims
        are precluded under applicable law.

  j.    Rule 12(b)(6): Failure to state a claim upon which relief can be granted to the
        extent that plaintiffs seek to impose joint and several and/or solidary liability
        upon the manufacturing defendants inasmuch as the applicable law precludes
        such reapportionment of fault.

  k.    Rule 12(b)(6): Failure to state a claim upon which relief can be granted to the
        extent that plaintiffs specifically seek attorneys fees under federal or state law
        inasmuch as such claims are precluded.

  l.    Rule 12(b)(6): Failure to state a claim upon which relief can be granted to the
        extent that plaintiffs seek injunctive relief as none of the theories invoked by
        plaintiffs provide recovery for injunctive relief sought by plaintiffs and plaintiffs
        have not alleged a sufficient basis to entitle them to injunctive relief.



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       m.      Rule 12(b((6): Plaintiffs’ claims should be dismissed for lack of standing because
               the allegations fail to connect any particular plaintiff with a particular defendant.

       n.      Rule 12(b)(3): Improper venue as to plaintiffs who reside outside the Eastern
               District of Louisiana.

       o.      Rule 12(b): Motion to dismiss class action allegations for failure to timely file a
               motion for class certification pursuant to Uniform Local Rule 23.1.

       Further, Fleetwood preserves all defenses raised and briefed in the Manufacturing

Defendants’ Joint Rule 12(b)(6) Motion to Dismiss and the Manufacturing Defendants’ Joint

Rule 9(b) Motion to Dismiss. Finally, Fleetwood reserves the right to amend or supplement

these defenses and to file any appropriate preliminary pleadings and/or dispositive motions in the

above case and in any other cases in which it has been or will be named as a party.

                                             Respectfully submitted:

                                                    /s/ Jeffrey M. Burg
                                             ______________________________
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                                 CERTIFICATE OF SERVICE
         I hereby certify that the foregoing pleading has been electronically filed this date and

delivered to all counsel of record by notice of electronic filing by the court, by depositing a copy

of same in the United States mail, first class postage prepaid, by hand delivery or by facsimile

transmission, this 7-May-09, at their last known address of record.



                                                             /s/ Jeffrey M. Burg
CP-3498-39075-Doc. 15673




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